CaSe 2102-Cr-2044E\BHEE DNmrmihrsiiR<`rEEibllsq&H@/P%dimr 1 01c 3 PaQ€lD 318
FoR THE WESTERN DISTRICT oF TENNESSEE

 

WESTERN DIVISION F"£D EY D-C-
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UNITED STArEs oF AMERJCA, *
WQ§. sain
Plaintiff, * crim. No. 02-20448-%%{§ J|°EICLWT
vs. *
JOHN E. MADISON, sR., and *

WILLIEANN D. MADISON,

Defendants.

 

ORDER DENYING UNITED STATES’ MOTION TO DISQUALIFY ALLAN J. WADE

 

The Motion of the United States of America to disqualify Allan J. Wade and his law firm
from representing third-party intervenors Mernphis First Community Bank (“Memphis First”)
has come before this Court. Although the Court recognizes that the Governrnent has standing to
raise the issue, the Court finds that the Government has not met its burden of showing that
disqualification is Warranted in this case.

Therefore, it is ORDERED ADIUDGED AND DECREED that, for the reasons set forth
in Petitioner Memphis First’s Response to the Motion to Disqualify, the Motion to Disqualify

Allan .`f. Wade is DEN]ED.

 

 

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With Ru|e 55 and/or 32(b) FRC|'P on g’| Z/[`JVO 1 § M

 

 

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This notice confirms a copy of` the document docketed as number 466 in
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August 18, 2005 to the parties listed.

 

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Honorable Bernice Donald
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